        Case 3:07-cr-00058-MCR-CJK Document 351 Filed 01/12/16 Page 1 of 1
Order on Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                                     Page 1 of 1


                           UNITED STATES DISTRICT COURT
                                            Northern District of Florida

UNITED STATES OF AMERICA

v.                                                                          Case No.: 3:07cr58-001/MCR
                                                                            USM No.: 06721-017
DAVID LEE SCHIMMEL
                                                               /

Date of Original Judgment:                October 30, 2007


Date of Previous Amended Judgment:                     N/A
(Use Date of Last Amended Judgment if Any)


                           Order on Motion for Sentence Reduction
        The Defendant has moved under 18 U.S.C. § 3582(c)(2) for a reduction in the term of
imprisonment previously imposed based on a guideline sentencing range that has subsequently
been lowered and made retroactive by the United States Sentencing Commission pursuant to 28
U.S.C. § 994(u).
        Having considered such motion, and taking into account Amendment 782, USSG
§1B1.10, and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent they are
applicable, the Court orders that the motion is DENIED, finding:
        Amendment 782 does not have the effect of lowering Defendant’s applicable guideline
imprisonment range. Although Defendant’s base offense level is reduced from 38 to 36, and his
total offense level is reduced from 46 to 44, the Sentencing Table is capped at 43 with a guideline
imprisonment range which remains at Life. Accordingly, Defendant is not eligible for a
reduction in sentence, as his guideline range was not lowered by this amendment.


IT IS SO ORDERED.


Order Date:          January 12, 2016                                       s/   M. Casey Rodgers
                                                                            Signature of Judge
                                                                             M. Casey Rodgers
Effective Date:                                                              Chief United States District Judge
                      (if different from order date)                        Printed Name and Title of Judge
